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                     APPENDIX 2
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                        EXHIBIT A
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 RESEARCH ARTICLE                                                                                                                              Open Access

Neurobehavioral consequences of chronic
intrauterine opioid exposure in infants and
preschool children: a systematic review and
meta-analysis
Alex Baldacchino1*, Kathleen Arbuckle2, Dennis J Petrie3 and Colin McCowan4


  Abstract
  Background: It is assumed within the accumulated literature that children born of pregnant opioid dependent
  mothers have impaired neurobehavioral function as a consequence of chronic intrauterine opioid use.
  Methods: Quantitative and systematic review of the literature on the consequences of chronic maternal opioid use
  during pregnancy on neurobehavioral function of children was conducted using the Meta-analysis of Observational
  Studies in Epidemiology (MOOSE) and the Preferred Reporting Items for Systematic Reviews and Meta-Analysis
  (PRISMA) guidelines. We searched Cinahl, EMBASE, PsychINFO and MEDLINE between the periods of January 1995
  to January 2012.
  Results: There were only 5 studies out of the 200 identified that quantitatively reported on neurobehavioral
  function of children after maternal opioid use during pregnancy. All 5 were case control studies with the number of
  exposed subjects within the studies ranging from 33–143 and 45–85 for the controls. This meta-analysis showed no
  significant impairments, at a non-conservative significance level of p < 0.05, for cognitive, psychomotor or observed
  behavioural outcomes for chronic intra-uterine exposed infants and pre-school children compared to non-exposed
  infants and children. However, all domains suggested a trend to poor outcomes in infants/children of opioid using
  mothers. The magnitude of all possible effects was small according to Cohen’s benchmark criteria.
  Conclusions: Chronic intra-uterine opioid exposed infants and pre-school children experienced no significant
  impairment in neurobehavioral outcomes when compared to non-exposed peers, although in all domains there
  was a trend to poorer outcomes. The findings of this review are limited by the small number of studies analysed,
  the heterogenous populations and small numbers within the individual studies. Longitudinal studies are needed
  to determine if any neuropsychological impairments appear after the age of 5 years and to help investigate further
  the role of environmental risk factors on the effect of ‘core’ phenotypes.
  Keywords: Neuropsychology, Psychomotor, Cognition, Methadone, Opioids, Meta-analysis


Background                                                                            could lead to an increase in problem pregnancies [2].
Substance abuse has been a global problem for many de-                                During pregnancy drugs will cross the placenta and can
cades and in recent years there has been a significant in-                            have an effect on the foetus. This effect is often hard to
crease in the numbers of people using opioids [1].                                    quantify as there are other aspects that could be consid-
Opioid use was seen as a predominately male problem                                   ered as having a larger effect on child outcomes, for ex-
but today there are many women using opioids which                                    ample, the quality of care or the environment [3]. Many
                                                                                      studies examining the impact of opioid use during preg-
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                                                                                      nancy on child outcomes have concentrated on treat-
1
 Division of Neuroscience, Medical Research Institute, University of Dundee,          ment populations (methadone and/or buprenorphine)
Ninewells Hospital and Medical School, Dundee DD1 9SY, UK                             for recruitment as this group is easier to reach than
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                                         article, unless otherwise stated.
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heroin users [4]. Research has attempted to address birth       exposure to methadone or buprenorphine [33]. A recent
problems, neonatal abstinence syndrome, mortality and           Cochrane systematic review identified four trials compa-
co-morbidities as well as neuro-developmental issues in         ring methadone in pregnancy with buprenorphine in three
children sometimes with conflicting results [5]. There are      studies and oral slow-release morphine in the other [34].
many reports into neonatal abstinence syndrome and birth        Patients using methadone had lower dropout rates than
parameters but fewer reports on neuro-developmental             for the other treatment options but there were no dif-
issues surrounding prenatal exposure to opioids [6-10].         ferences in neo-natal abstinence syndrome in the trials.
   In the U.K. it is estimated that around 280,000 people       Infant birth weight was higher for buprenorphine users
use opioids and that around 30% are women [11,12]. In           in two trials but no different in the other two trials.
2009/2010 925 pregnancies in Scotland reported drug             Women on slow-release morphine were less likely to
misuse, a rate of 16.1 per 1,000 pregnancies, with opi-         also use heroin in the third trimester than methadone
oids reported in 506 (55%) of these pregnancies [2].            users. The authors highlighted the lack of available evi-
Over half the pregnant mothers who report drug use are          dence to inform treatment decisions for pregnant women
opioid dependent with consequential increase in risk to         with opioid dependence.
both mother and expected child.                                    The literature pertaining to the long-term develop-
   Replacement prescribing with methadone and recently          mental effects of prenatal methadone and buprenor-
buprenorphine forms the main plank of medical treatment         phine exposure is relatively sparse and contradictory [5].
for opioid dependency in the United Kingdom, reflecting a       While some studies report no long-term effects [35-37]
comprehensive and evolving evidence base which consis-          others report reduced performance on tests of cognitive
tently demonstrates the effectiveness of methadone in           development [38-41].
delivering positive outcomes in a complex and demanding            While this literature, together with the neurobeha-
population [13-15]. Properly prescribed and adequately          vioral effects of intrauterine opioid use on children, has
supported, methadone prescribing achieves harm reduc-           been reviewed by Konijnenberg and Melinder (2011) [5],
tion outcomes in opioid dependent patients [16,17]. It is       Whitham (2012) [42] and Hutchings (1987) [43], tra-
also associated with reduced mortality and improved qua-        ditional narrative reviews typically assume statistically
lity of life [18]. The duration and dosage of methadone         significant group differences to be evidence for cognitive
was also closely observed to be relevant factors in treat-      and/or psychomotor impairment, without giving due
ment outcomes with longer duration and higher dosages           consideration to the magnitude of such differences by
showing positive outcomes [19-21].                              reporting effect sizes.
   In contrast, some neuropsychological studies of chronic         This paper will determine the strength and consistency
methadone users have identified deficits in executive func-     of neurobehavioral impairment in cognitive and psycho-
tion measures. These have included impairments in cogni-        motor function in opioid exposed infants and pre-school
tive flexibility [22,23], in strategic planning [24,25] and     children when compared to healthy non-opioid exposed
decision making [26]. Other studies found no clear deficits     controls by performing a systematic literature review
when comparing the performance of healthy controls,             and consequently quantitatively synthesising the existing
with that of opioid abstinent or methadone users [27,28].       literature using meta-analytic methodology [44,45].
The accumulated literature tends to assume that neuro-
psychological function is commonly impaired as a conse-         Method
quence of chronic methadone use justifying an abstinence        Inclusion and exclusion criteria
agenda with premature termination of methadone treat-           The systematic review of the literature was conducted
ment [29]. Furthermore a recent meta-analysis on the            accordingly to the Meta-analysis of Observational Stu-
neuropsychology of chronic opioid use suggested impair-         dies in Epidemiology (MOOSE) guidelines [46] and the
ment in verbal working memory, cognitive impulsivity            Preferred Reporting Items for Systematic reviews and
(risk taking) and cognitive flexibility (verbal fluency) with   Meta-Analysis (PRISMA) guidelines [47].
a medium effect size [30].                                        For the purpose of this review, the meanings of the
   An early study has suggested that methadone-exposed          terms ‘opioid’ and ‘opiate’ were considered as largely
children have better birth outcomes compared to heroin-         synonymous, with opioid being used, as it has a broader
exposed children, suggesting that opioid treatment during       definition. An Infant was defined as a child up to 2 years
pregnancy is beneficial for the neonate [31]. Despite           old, pre-school child as one between 3 and 5 years of
evidence of the beneficial effects of methadone in the care     age and a school child as one between 6 and 12 years
of pregnant opioid-dependent women, approximately half          of age. Neurobehavioral function was defined as ‘growth
of all infants prenatally exposed to methadone require          of perceptual, emotional, intellectual, and behavioural
medical treatment for neonatal abstinence syndrome              capabilities and functioning during childhood (prior
[32]. Accordingly, there are risks associated with prenatal     to puberty) which includes development of language,
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symbolic thought, logic, memory, emotional awareness,           size d that is meant to reflect the degree to which the
empathy, a moral sense, and a sense of identity, inclu-         dependent variable is present in the sample group or the
ding sex-role identity’ [48].                                   degree to which the null hypothesis is false [52]. In
  Only studies that recruited opioid users were included        mathematical terms d is the difference between two
in the meta-analysis. Furthermore all trial methodologies,      group means standardised via pooled standard deviation
not only RCTs, were considered. Studies had to use a vali-      units. Effect sizes (i.e. Cohen’s d statistics) were calcu-
dated diagnostic system and explicitly define whether their     lated for each neurobehavioral test and then adjusted for
participants were opioid/methadone dependent [49,50].           sampling bias [53]. A value of 0.80 is regarded as a large
  We excluded studies that recruited mothers who were           effect size, 0.5 as a medium effect and 0.2 small [54,55].
polydrug users during term pregnancy even though they           Formulae were appropriately adjusted so that all derived
might have also been taking opioids. Studies that only          statistics informally represented the same direction; that
investigated the immediate effects of opioid use on neo-        is the same polarity of performance when comparing
nates including neonatal abstinence syndrome and the            groups. Negative scores always represented worse per-
neurological consequences of opioid exposure were also          formance on the part of the opiate exposed group.
excluded. Sufficient study statistics not convertible to ef-      The multi-domain model is the most widely used model
fect size (d) e.g. means, standard deviation, F, t, X 18        of infant-pre-school assessment. The theoretical basis of
were also excluded, as well as studies with less than 15        the model is that the Child Development is an inter-
in the total sample size.                                       actively unfolding, continuous process that occurs in se-
                                                                veral distinct but interrelated domains. Traditionally these
Search strategy                                                 domains include (a) motor (fine and gross motor skills),
Articles were identified using an electronic and hand           (b) communication (receptive and expressive language),
strategy based search. A computer based search was per-         (c) cognition (problem solving skills), (d) adaptive compe-
formed using the following database: Cinahl, EMBASE,            tence (dressing, eating, toileting), and (e) personal-social
PsychINFO and MEDLINE between the periods of                    competence [56,57]. For this review all relevant test vari-
January 1995 to January 2012 (17 years). No language con-       ables were coded into one of three neurobehavioral
straints were applied. Subject headings originally included     domains [56,58].
‘child, opioid, prenatal exposure and substance misuse’.
(Refer to Additional file 1: Table S1)                            1. Cognitive
   This was followed with the term ‘neurobehavioral’              2. Psychomotor
which was subsequently replaced with a succession of              3. Behavioural observations
terms describing names of a list of cognitive and psycho-
motor tests and using wild cards.                                  In keeping with recommendations on meta-analytical
   Two of the authors (AB and KA) independently reviewed        research in neuropsychology, previous factor-analysis,
all the identified abstracts from the electronic search, se-    where possible, informed the placement of measures into
lected studies and published reviews. A snowballing tech-       the aforementioned domains. This approach provides an
nique was employed so that the reference list of the            objective alternative to the arbitrary grouping of neuro-
identified articles was screened to find other suitable stu-    psychological variables on the basis of face validity or un-
dies. The literature search was further enhanced by hand        confirmed notions held within the existing literature [59].
searching 22 journals for the last 5 years (2008–2012). They    Unfortunately the factor-analytical studies to date do not
include Drug and Alcohol Dependence, Addictive Beha-            encompass all of the neuropsychological measures that
viours, Addiction, European Addiction Research, Journal         were encountered in this comprehensive systematic re-
of Substance Abuse Treatment, Child Neuropsychology,            view. To this end, there was also a reliance on authorita-
Neurotoxicology, Neurotoxicology and Teratology, Toxicology     tive texts and discussion with experts in the field of
Letters, Psychological Medicine, European Journal of Paedi-     neuropsychology and/or cognitive measures to help or-
atrics, Paediatrics, Developmental and Behavioral Paediat-      ganise remaining measures [57,60] and, when necessary,
rics, Archives of Diseases in Childhood, Paediatric Research,   we relied on the classification used by the authors of a
NeuroImage, Early Human Development, Women and                  given study [5,42,43] (Table 1).
Birth, Obstetrics, British Journal of Gyneacology and Obstet-      To meet the assumption of independence, when mul-
rics, British Medical Journal, Neuroscience and Biobeha-        tiple test variables in a study contributed to any one
vioral Reviews.                                                 neuropsychological domain, the effect size for each meas-
                                                                ure was assessed separately and then the mean effect size
Data analysis and study detail                                  of these measures were combined to assess the overall
Standard meta-analytic techniques were employed to              outcome in the respective area of functioning. Multiple
this review [51]. Magnitude is indexed with the effect          measurements can increase the likelihood of Type 1 errors
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Table 1 Neurobehavioral functions
Main domain                           Definition                                                                   Tests
General cognitive                     Child’s ability to learn and solve problems                                  WPPSI-R, DAS, SBIS, MSCA,MSEL, GDS, BSID
Language                              Child’s ability to both understand and use language                          PPVT-III, NEPSY, RDLS, GDS
Non verbal processing                 Child’s ability to organize the visual-spatial field, adapt                  K-ABC, Non verbal subtests of DAS, WPPSI, MSCA
                                      to new or novel situations, and/or accurately read
                                      nonverbal signals and cues.
Psychomotor                           The child’s ability to connect thoughts with muscle movements                Vineland Motor Domain, MSCA, NEPSY, GDS, BSID
Executive functions                   Child’s ability to analyze situations, plan and take action,                 WPPSI-R Animal Pegs, NEPSY, GDS
                                      focus and maintain attention, and adjust actions as needed
                                      to get the job done
Memory                                Child’s ability to hold and manipulate information over brief                DAS, MSCA, BSID, NEPSY
                                      periods of time, in the course of ongoing cognitive activities
Social/emotional adjustment           Child’s ability to interact with others, including helping                   VSS, CBC, CBRS, GDS, IBR, RPD-Q, VSMS
                                      themselves and self-control.
BSID, Bayley Scales of Infant Development Test (Motor and Cognitive); CBRS, Conners’ Behavior Rating Scale; CBC, Achenbach Child Behavior Checklist; DAS, Differential
Ability Scale-Preschool Core; GDS, Griffiths Developmental Scale; IBR, Bayley’s Infant Behaviour Record; K-ABC, Kaufman Assessment Battery for Children; MCSA, McCarthy
Scales of Children’s Abilities; MSEL, Mullen Scales of Early Learning; NEPSY, Developmental NEuroPSYchological Assessment; PPVT-III, Peabody Picture Vocabulary Test-3rd
Edition; RPD-Q, Rapid Pre-screening Denver Questionnaire; RDLS, Reynell Developmental Language Scale; SBIS, Stanford-Binet Intelligence Scale; VSS, Vineland Social-Emotional
Early Childhood Scales; VSMS, Vineland Social Maturity Scale; WPPSI-R, Weschler Preschool and Primary Scale of intelligence-Revised.




  Figure 1 Neurobehavioral consequences of chronic opioid intrauterine exposure in infants, preschool and school children: QUality Of
  Reporting Of Meta-analysis (QUOROM).
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and so a p value over 0.01 will be interpreted with caution                               Eligible research studies comprising a common dependent
even though analysis will use a significant level of p < 0.05.                         variable as well as statistics that can be transformed
   Tests for the presence and degree of heterogeneity were                             into effect sizes were systematically surveyed. Individual
conducted using the Q statistic [55] and I2 index [61] re-                             study results (typically means and standard deviations
spectively. However, quantification of heterogeneity is only                           from each group) and relevant moderator variables con-
one component of a wider investigation of variability                                  sidered as relevant by previous reviews (e.g. dosage of
across studies, the most important being diversity in cli-                             maternal methadone during pregnancy, gestational age,
nical and methodological domains, and the observed de-                                 presence of Neonatal Abstinence Syndrome (NAS), qua-
gree of inconsistency across studies with regards to the                               lity of the study, and population studied) were used as
direction of effects [62]. As different scales were some-                              moderators if needed during this review. They were ab-
times used by different studies, standardised mean dif-                                stracted, quantified,coded and assembled into a database
ference (SMD) effect-size estimates were calculated. In                                and analysed using Comprehensive Meta-Analysis Version
case of significant heterogeneity, random effect models                                2 [66]. The significance level was p = 0.01 and in Q statis-
were applied [63,64].                                                                  tics p = 0.10.
   Research with statistically significant results are poten-
tially more likely to be submitted and published than                                  Assessment of study quality
studies with non-significant results. The presence of                                  For all review questions, data were extracted by one re-
such publication bias was assessed informally by visual                                viewer and checked by another. Discrepancies were re-
inspection of funnel plots and formally by its statistical                             solved by referral to the original studies and, if necessary,
analogue, Fail Safe N, according to Orwin [65].                                        arbitration done by a third reviewer. Duplicate publica-
   A Fail-Safe N is the number of non significant, unpub-                              tions were actively screened for and, when found, the lat-
lished, or missing studies that would need to be added to                              est and most complete report was used. The Effective
the meta-analysis in order to change the overall result                                Public Health Practice Project (EPHPP) quality assessment
from significance to non-significance. More than two                                   checklist (amended) was used in this study [67]. For prag-
studies are needed to enable a Fail-Safe N to be calculated.                           matic reasons no papers were excluded on quality grounds


Table 2 General characteristics of selected studies comparing opioid exposed infants and children with non opioid
exposed controls (n = 5)
Study                      Age in months        Number        Country       Type of opioid               Socio-economic status          Measures used
                           when tested                                      exposure                                                    (Neurobehavioral)
Infants
Hunt et al. [6]            19.9                 79OE          Australia     Illicit heroin               n/a                            VSMS, MSCA, BSID
                                                61C
Moe et al. [71]            12                   64OE          Norway        Illicit heroin               3.9OE*1 v 4.1C                 MSCA, BSID
                                                52C
Hans et al. [74]           12/24                33OE          USA           Illicit heroin               5*2                            BSID, IBR
                                                45C                         Prescribed methadone
Bunikowski et al. [73]     12.4                 42OE          Germany       Illicit heroin               4OE*3 v 6C                     GDS, RPD-Q
                                                47C                         Prescribed methadone
Pre-school children
Hunt et al. [6]            38.2                 67OE          Australia     Illicit heroin               n/a                            BSID, MSCA
                                                44C
Moe et al. [71]            54                   64OE          Norway        Illicit heroin               3.9OE*1 v 4.1C                 BSID, MSCA
                                                52C
Ornoy et al. [72]          60                   93OE          Israel        Illicit heroin               3.9OE*3                        BSID, MCSA, Achenbach CBC
                                                50EC                                                     2.4C
                                                85C
OE, Opioid Exposed; EC, Environmental Controls; C, Controls; *1, SES or mean value of both parent education and occupation; *2, Hollinghead level; *3, Socio-status; n/
a, not available. Achenbach CBC, Achenbach Child Behavior Checklist (Externalising including attention); BSID, Bayley Scales of Infant Development Test (Psychomotor
and Mental Scores); GDS, Griffiths Developmental Scale (Locomotor); IBR, Bayley’s Infant Behaviour Record; MCSA, McCarthy Scales of Children’s Abilities (Motor scale);
RPD-Q, Rapid Pre-screening Denver Questionnaire; VSMS, Vineland Social Maturity Scale.
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Table 3 Specific characteristics of selected studies comparing opioid exposed infants and children with non opioid
exposed controls (n = 5)
Study                                   Age in months               Gestational age             Mean birth             Mean head                           Mother’s age                    Mother’s methadone
                                        when tested                 in weeks                    weight in g            circumference (cms)                 (median) in years               dose in mg
Infants
Hunt et al. [6]                         19.9                        37.7                        2900in OE              33.6 in OE                          n/a                             n/a
                                                                                                3300 in C              34.5 in C
Moe et al. [71]                         12                          n/a                         3037 in OE             34 in OE                            n/a                             na
                                                                                                3754 in C              35.8 in C
Hans et al. (2011)                      12/24                       n/a                         2922 in OE             n/a                                 27.1 in OE                      20 mg
                                                                                                3236 in C                                                  25.8 in C
Bunkowski et al. (1998)                 12.4                        37.4                        2783 in OE             n/a                                 27 in OE                        n/a
                                                                                                3240 in C                                                  30.2 in C
Pre-school children
Hunt et al. [6]                         38.2                        37.7                        2900in OE              33.6 in OE                          n/a                             n/a
                                                                                                3300 in C              34.5 in C
Moe et al. [71]                         54                          n/a                         3037 in OE             34 in OE                            n/a                             n/a
                                                                                                3754 in C              35.8 in C
Ornoy et al. [72]                       60                          36                          2487 in OE             27.8 in OE                          n/a                             n/a
                                                                                                3346 in C              39.8 in C
Mg, Milligrammes; g, Grammes; cms, Centimetres; n/a, Not available; OE, Opioid Exposed; C, Non-Opioid Exposed Controls.

as all papers were weak to moderate (Refer to Additional                                                          rather than psychomotor skills [68] and 2 other studies had
file 2: Table S2).                                                                                                small sample sizes of < 15 [69,70].
   Ethical approval and informed patient consent was not                                                            Furthermore 2 studies tested the same cohort during in-
required as this study was a literature review and had no                                                         fancy and pre-school periods [6,71] and another study
direct patient contact or influence on patient care.                                                              tested the cohort during pre-school and school periods
                                                                                                                  [72]. Considering that only one study measured outcomes
Results                                                                                                           during the school period [72] it was decided that further
Studies selected and population studied                                                                           analysis should concentrate on the infancy and pre-school
Combined searches yielded 1452 references. In total 65 ar-                                                        periods. During these periods there were 4 studies com-
ticles were retrieved for further assessment from which 65                                                        paring opioid exposed infants with controls [6,71,73,74]
studies identified intrauterine exposure to opioids and                                                           and 3 studies comparing opioid exposed pre-school chil-
reported health and developmental outcomes for the                                                                dren with controls [6,71,72]. In Hans et al. [74] infants in
opioid exposed children. From these studies, 8 articles                                                           the cohort were tested at 1 and 2 years old allowing two
were found to investigate the cognitive, psychomotor and                                                          observational points (Figure 1).
behavioral outcomes in opioid exposed infants, pre-school                                                           All studies were case controlled observational studies
and school children when compared to healthy non-                                                                 conducted with a population living in urbanised and low
opioid exposed controls. Only 5 studies could be further                                                          socioeconomic communities exposed to either heroin or
utilised in this meta-analysis since 1 study measured motor                                                       methadone.

  Study name           Subgroup within study Outcome                            Statistics for each study                                                        Std diff in means and 95% CI

                                                                Std diff Standard         Lower     Upper
                                                               in means    error  Variance limit     limit   Z-Value p-Value

  Hunt et al (2008)     1.5 years old           BSID (Mental)    0.183     0.324    0.105 -0.452     0.818    0.565   0.572
  Bunkowski et al (1998)1 year old              GDS (DQ)         0.047     0.407    0.166 -0.750     0.845    0.116   0.907
  Moe et al (2002)      1 year old              BSID (Mental)    0.127     0.419    0.176 -0.695     0.949    0.303   0.762
  Hans et al (2001)     1 year old              BSID (Mental     0.713     0.390    0.152 -0.051     1.477    1.829   0.067
  Hans et al (2001)     2 years old             BSID (Mental)    0.128     0.400    0.160 -0.657     0.913    0.319   0.750
                                                                 0.242     0.171    0.029 -0.094     0.578    1.412   0.158

                                                                                                                                   -2.00                 -1.00               0.00                1.00                 2.00


                                                                                                                                           Fav ours opioid exposed infants      Fav ours non-opioid exposed infants

  Figure 2 Forrest plots comparing cognition in opiod and non-opiod exposure.
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  Study name                   Subgroup within study          Outcome                                               Statistics for each study                                                                          Std diff in means and 95% CI

                                                                                         Std diff    Standard                      Lower         Upper
                                                                                        in means       error        Variance        limit         limit    Z-Value p-Value

  Hunt et al (2008)             1.5 years old                 BSID (Psychomotor) 0.165                     0.358        0.128       -0.536        0.867       0.462       0.644
  Bunkowski et al (1998) 1 year old                           GDS (Locomotor)                0.047         0.363        0.132       -0.665        0.758       0.129       0.897
  Moe et al (2002)              1 year old                    BSID (Psychomotor) 0.139                     0.399        0.159       -0.643        0.922       0.349       0.727
  Hans et al (2001)             1 year old                    BSID (Psychomotor) 0.950                     0.378        0.143        0.210        1.691       2.515       0.012
  Hans et al (2001)             2 years old                   BSID (Psychomotor) 0.115                     0.371        0.138       -0.612        0.843       0.310       0.756
                                                                                             0.279         0.167        0.028       -0.048        0.605       1.670       0.095

                                                                                                                                                                                      -2.00                    -1.00                    0.00                  1.00                   2.00


                                                                                                                                                                                              Fav ours opioid exposed infants                 Fav ours non-opioid exposed infants

 Figure 3 Forrest plots comparing psychomotor in opiod and non-opiod exposure.



  The global quality assessment reported four studies as                                                                                                   significant evidence of heterogeneity with the use of a
of moderate quality and one as weak. The assessment                                                                                                        fixed effects model (Q = 1.88, p < 0.76, I2 = 0.00). Lastly
for analysis performed was moderate for all studies but                                                                                                    the 95% confidence interval did contain zero and, hence
all other domains were reported as either weak or mo-                                                                                                      the null hypothesis that the effect size was not different
derate (see Additional file 2: Table S2).                                                                                                                  from zero could not be rejected (95% CI; −0.09, 0.58)
  Cohort characteristics for the 4 studies comparing opi-                                                                                                  (Figure 2).
oid exposed infants with controls describe a total num-                                                                                                       For psychomotor: a total of four studies were pooled
ber of 218 individuals tested compared to a total of 205                                                                                                   including 251 opioid exposed and 315 non-opioid ex-
non opioid exposed controls. The mean infant age was                                                                                                       posed infants. Pooling of the four studies revealed a non
14.1 months (1.2 years). Cohort characteristics for the 3                                                                                                  significant effect size of 0.28 in favour of non-opioid ex-
studies comparing opioid exposed pre-school children                                                                                                       posed controls. (Z = 1.67, p = 0.09).The Q and I2 statis-
with non opioid exposed controls describe a total num-                                                                                                     tics, showed no significant evidence of heterogeneity
ber of 224 individuals tested compared to a total of                                                                                                       with the use of a fixed effects model (Q = 3.98, p < 0.41,
231 non opioid exposed controls. The mean age of the                                                                                                       I2 = 0.00). Lastly the 95% confidence interval did contain
pre-school children tested was 50.7 months (4.2 years).                                                                                                    zero and, hence the null hypothesis that the effect size
General and specific characteristics of the included stu-                                                                                                  was not different from zero could not be rejected
dies are shown on Tables 2&3.                                                                                                                              (95% CI; −0.05, 0.61) (Figure 3).
                                                                                                                                                              For behaviour: a total of three studies were pooled in-
Neurobehavioral function                                                                                                                                   cluding 145 opioid exposed and 216 non-opioid exposed
There were six effect size measures possible (3 for the                                                                                                    infants. Pooling of the three studies revealed a non sig-
infant cohort and 3 for the pre-school cohort groups)                                                                                                      nificant effect size of 0.40 in favour of non-opioid
from the selected studies. There were no effect sizes                                                                                                      exposed controls. (Z = 1.25, p = 0.20). The Q and I2 sta-
identified as greater than 2× inter-quartile range (25 and                                                                                                 tistics, however showed significant evidence of hetero-
75 percentile) from the nearest quartile (outliers) [75].                                                                                                  geneity with the use of a fixed effects model (Q = 7.13,
                                                                                                                                                           p < 0.03, I2 = 71.93). As a result an additional analysis
Opioid exposed infants compared with non-opioid exposed                                                                                                    was performed that corrected for random effects. The
infants                                                                                                                                                    corrected mean effect size changed to 1.21 and a non-
For cognition: a total of four studies were pooled including                                                                                               significant Z score (Z = 1.30, p = 0.19). Lastly the 95%
251 opioid exposed and 315 non-opioid exposed infants.                                                                                                     confidence interval did contain zero and, hence the
Pooling of the four studies revealed a non significant effect                                                                                              null hypothesis that the effect size was not different
size of 0.24 in favour of non-opioid exposed controls.                                                                                                     from zero could not be rejected (95% CI; −0.61, 3.03)
(Z = 1.41, p = 0.16). The Q and I2 statistics, showed no                                                                                                   (Figure 4).

  Model Study name               Subgroup within study   Outcome                                                            Statistics for each study                                                                     Std diff in means and 95% CI

                                                                                                      Std diff   Standard               Lower     Upper
                                                                                                     in means      error    Variance     limit     limit   Z-Value   p-Value

           Hunt et al (2008)     1.5 years old           Vineland Social Maturity Sc ale (VSMS)         0.155       0.349       0.122   -0.529     0.838     0.443     0.658

           Hans et al (2002)     1 y ear old             Infant Behav iour Rec ord (IBR) Attention      4.464       1.593       2.539    1.341     7.587     2.801     0.005

           Hans et al (2001)     2 y ears old            Infant Bahav iour Rec ord (IBR) Attention      0.711       0.876       0.768   -1.006     2.428     0.811     0.417

  Fix ed                                                                                                0.399       0.318       0.101   -0.224     1.021     1.256     0.209


                                                                                                                                                                                  -4.00                     -2.00                      0.00                   2.00                    4.00




                                                                                                                                                                                          Favours opioid exposed ipre-school infants      Favours non-opioid exposed pre-school infants


 Figure 4 Forrest plots comparing behaviour in opiod and non-opiod exposure.
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  Study name             Subgroup within study                                      Statistics for each study                                                                  Std diff in means and 95% CI

                                                              Std diff Standard              Lower         Upper
                                                             in means    error      Variance limit          limit       Z-Value p-Value

  Hunt et al (2008)        3 years old            McCarthy      0.445       0.491       0.241     -0.518     1.408        0.906      0.365
  Ornoy et al (2001/2003) 5 years old             McCarthy      0.078       0.423       0.179     -0.752     0.907        0.184      0.854
  Moe et al (2002)         4.5 years old          McCarthy      0.111       0.385       0.148     -0.644     0.866        0.288      0.773
  Walhord et al (2007)     4.5 years old          McCarthy      0.000       0.414       0.172     -0.812     0.812        0.000      1.000
                                                                0.136       0.212       0.045     -0.279     0.551        0.641      0.521

                                                                                                                                                -2.00                 -1.00                      0.00                      1.00                     2.00


                                                                                                                                                    Favours opioid exposed pre-school children         Favours non-opioid exposed pre-school children


 Figure 5 Forrest plots comparing cognition in opiod and non-opiod exposure.



Opioid exposed pre-school children compared with                                                                         I2 = 0.00). Lastly the 95% confidence interval did contain
non-opioid exposed pre-school children                                                                                   zero and, hence the null hypothesis that the effect size was
For cognition: a total of three studies were pooled in-                                                                  not different from zero could not be rejected (95%
cluding 224 opioid exposed and 181 non-opioid exposed                                                                    CI;-0.25, 1.25) (Figure 7).
pre-school children. Pooling of the three studies revealed
a non significant effect size of 0.18 in favour of non-                                                                  Discussion
opioid exposed controls. (Z = 0.75, p = 0.46).The Q and                                                                  Key findings
I2 statistics, showed no significant evidence of hetero-                                                                 In this first ever quantitative review of the research li-
geneity with the use of a fixed effects model (Q = 0.38,                                                                 terature on the neurobehavioral outcomes as a result of
p < 0.83, I2 = 0.00). Lastly the 95% confidence interval                                                                 intra-uterine opioid exposure in infants and pre-school
did contain zero and, hence the null hypothesis that the                                                                 children the meta-analysis has determined what abilities,
effect size was not different from zero could not be                                                                     if any, were reliably found impaired across studies when
rejected (95% CI; −0.30, 0.67) (Figure 5).                                                                               compared with non-opioid exposed controls. Our findings
   For psychomotor: a total of three studies were pooled                                                                 indicate no significant impairments in cognitive, psycho-
including 224 opioid exposed and 181 non-opioid ex-                                                                      motor or observed behavioural outcomes for chronic intra-
posed pre-school children. Pooling of the three studies                                                                  uterine exposed infants and pre-school children, although
revealed a non significant effect size of 0.28 in favour of                                                              in all domains there is a trend to poor outcomes in infants/
non-opioid exposed controls. (Z = 1.00, p = 0.32).The Q                                                                  children of opioid using mothers (Table 4).
and I2 statistics, showed no significant evidence of he-                                                                    The result of this systematic review is in accordance
terogeneity with the use of a fixed effects model (Q =                                                                   with Whitham [42] who conducted an open label non
0.18, p < 0.91, I2 = 0.00). Lastly the 95% confidence inter-                                                             randomised flexible dosing longitudinal study with re-
val did contain zero and, hence the null hypothesis that                                                                 sults showing that children prenatally exposed to illicit
the effect size was not different from zero could not                                                                    heroin and/or methadone did not differ to non-exposed
be rejected (95% CI;-0.27, 0.82) (Figure 6).                                                                             infants and other children in cognitive, psychomotor
   For behaviour: a total of two studies were pooled inclu-                                                              and caregiver rated temperament outcomes. As a recent
ding 160 opioid exposed and 129 non-opioid exposed pre-                                                                  review observed, the conflicting results of traditional sys-
school children. Pooling of the two studies revealed a non                                                               tematic reviews on this subject could be that most chil-
significant effect size of 0.38 in favour of non-opioid                                                                  dren in these studies were exposed to other drugs in
exposed controls. (Z = 1.30, p = 0.19). The Q and I2 statis-                                                             addition to opioids such as methadone [5]. Another
tics, showed no significant evidence of heterogeneity with                                                               explanation given to the conflicting results may be
the use of a fixed effects model (Q = 0.02, p < 0.89,                                                                    that various studies were conducted using different

  Study name             Subgroup within study   Outcome                                    Statistics for each study                                                             Std diff in means and 95% CI

                                                                    Std diff    Standard             Lower       Upper
                                                                   in means       error     Variance  limit       limit     Z-Value p-Value

  Hunt et al (2008)       3 years old            McCarthy Motor Scale 0.445         0.491       0.241   -0.518      1.408    0.906      0.365
  Ornoy et al (2001/2003) 5 years old            McCarthy Motor Scale 0.162         0.494       0.244   -0.806      1.130    0.328      0.743
  Moe et al (2002)        4.5 years old          McCarthy Motor Scale 0.228         0.459       0.211   -0.672      1.127    0.496      0.620
  Walhord et al (2007)    4.5 years old          McCarthy Motor Scale 0.000         0.476       0.227   -0.933      0.933    0.000      1.000
                                                                        0.206       0.240       0.057   -0.263      0.676    0.861      0.389

                                                                                                                                                   -2.00                  -1.00                       0.00                   1.00                    2.00


                                                                                                                                                        Favours opioid exposed ipre-school children      Favours non-opioid exposed pre-school children


 Figure 6 Forrest plots comparing psychomotor in opiod and non-opiod exposure.
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    Study name                 Subgroup within study   Outcome                                                                                            Statistics for each study                                                                       Std diff in means and 95% CI

                                                                                                                                    Std diff   Standard               Lower     Upper
                                                                                                                                   in means      error     Variance    limit     limit   Z-Value   p-Value

    Hunt et al (2008)          3 y ears old            Vineland Social maturity Sc ale (VSMS)                                         0.544       0.513       0.263   -0.461     1.548     1.061     0.289

    Ornoy et al (2001/2003)    5 y ears old            Achenbac h Child Behav ioural Chec klist (CBCL)Ex ternalis ing- Attention      0.442       0.574       0.330   -0.683     1.567     0.770     0.441

    Walhord et al (2007)       4.5 years old           Achenbac h Child Behav ioural Chec klist (CBCL)Ex ternalis ing-Attention       0.000       0.614       0.377   -1.204     1.204     0.000     1.000

                                                                                                                                      0.359       0.325       0.105   -0.277     0.996     1.107     0.268


                                                                                                                                                                                                              -2.00                     -1.00                        0.00                          1.00                          2.00




                                                                                                                                                                                                                       Favours opioid exposed pre-school children               Favours non-opioid exposed pre-school children



    Figure 7 Forrest plots comparing behaviour in opiod and non-opiod exposure.




neurobehavioral tests at different ages of development.                                                                                                                 neurobehavioral effects as a result of intra-uterine mater-
Prenatal opioid exposure may affect children’s cognitive                                                                                                                nal polydrug use and the potential confusion of neuro-
and psychomotor performance differently at different                                                                                                                    behavioral outcomes associated with the neonatal abstinent
ages resulting in neurobehavioral outcomes that might                                                                                                                   syndrome and other opioid withdrawal presentations du-
improve or worsen over time [5]. This analysis could                                                                                                                    ring the neonatal period (Jones et al., 2010). The main limi-
only be conducted during the two early stages of a                                                                                                                      tation of using a meta-analytic technique is the small
child’s development (infancy and pre-school children). It                                                                                                               number of primary studies available for analysis and also
was not possible to conduct a similar analysis on chil-                                                                                                                 their small sample size. This limits the generalisability of
dren aged between 6–12 years due to the presence of                                                                                                                     the result [75] and the small sample size of individual stu-
only one study meeting the criteria for analysis.                                                                                                                       dies means they may miss an increased risk of the occur-
  The studies included in the meta-analysis had differences                                                                                                             rence of relatively rare outcomes like ADHD, autism or
in the measurement of exposure to opiates. Most studies                                                                                                                 psychosis. The quality assessment of the individual studies
involved the use of illicit heroin wherein the dosage is                                                                                                                would also raise some concerns about the generalisability
highly variable and based on a large number of factors,                                                                                                                 of the findings as all were reported as of moderate or
while two of the studies involved methadone prescribed in                                                                                                               weak quality.
a controlled environment. None of the studies commented                                                                                                                   Meta-analysis tends to present results as composite
on the use of illicit drugs and alcohol which may also have                                                                                                             scores for broad neurobehavioral functions using different
a bearing on the outcomes of interest.                                                                                                                                  neuropsychological tests. This is a convenient way to sum-
                                                                                                                                                                        marise findings but it combines data from tests potentially
Limitations                                                                                                                                                             exploring different neuropsychological processes (e.g.
The results of our analysis must be cautiously interpreted                                                                                                              memory tests assessing immediate or delayed recall, lear-
bearing its limitations in mind. The inclusion criteria used                                                                                                            ning or recognition) and possibly generating results of
for this meta-analysis was very stringent so as to exclude                                                                                                              questionable theoretical relevance. This study attempted


Table 4 Effect sizes and associated statistics for neurobehavioral domains in opioid exposed infants and pre-school
children compared to others who have no history of opioid (or any other illicit and/or alcohol use) exposure during
pregnancy
Neuropsychological Studies1 Effect Size2 SE 3 N 4                                                                                      Lower Limit 5 Upper Limit 6 Q 7                                                p for Q 8 Z 9                                 p for Z 10 I2 11                                    Fail safe
Domains*                                                                                                                                                                                                                                                                                                                N 12
Infants
Cognition                                         4                         0.24                             0.17            251 −0.09                                         0.58                          1.88 0.76                               1.41 0.16                                    0.00                  0
Psychomotor                                       4                         0.28                             0.17            251 −0.05                                         0.61                          3.98 0.41                               1.67 0.09                                    0.00                  5
Behaviour*                 1
                                                  3                         1.21                             0.93            145 −0.61                                         3.03                          7.13 0.03                               1.30 0.19                                    71.93 2
Pre-school children
Cognition                                         3                         0.18                             0.25            224 −0.30                                         0.67                          0.38 0.83                               0.75 0.46                                    0.00                  0
Psychomotor                                       3                         0.28                             0.28            224 −0.27                                         0.82                          0.18 0.91                               1.00 0.32                                    0.00                  0
Behaviour                                         2                         0.50                             0.38            160 −0.25                                         1.25                          0.02 0.89                               1.30 0.19                                    0.00                  np
1
  = Number of studies used to calculate effect size, 2 = Cohen’s d effect size, 3 = Standard Error, 4 = Total number of subjects in opioid exposed cohort ,5 = Lower limit of
the 95% confidence interval for the effect size, 6 = Upper limit of the 95% confidence interval for the effect size, 7 = Q statistic: A test of homogeneity, 8 = Probability that
Q statistics significantly diff than 0, 9 = One sample Z Statistic, 10 = Probability that Z Statistics, is significantly diff than 0, 11 = I2 statistics, 12 = Fail Safe N: a measure of
publication bias, n/p = not possible since one needs more than 2 studies to perform this analysis, * All neuropsychological domains had random effects models
employed except*1 where random effect model employed.
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to minimise this by utilising neuropsychological domains         Whilst treatment with methadone during pregnancy re-
agreed by consensus and used in systematic reviews on            sults in fewer complications for both mother and infant
chronic substance use effects [24,76].                           when compared with the use of illicit opioids such as
  Even though the meta-analysis grouped together stu-            heroin, its use in pregnancy is associated with high rates
dies that used the same rating scales on a cohort who            of neonatal abstinence syndrome [84,85]with its treat-
clearly were exposed to opioids, it was not possible from        ment involving using another opioid, morphine [86].
the information presented in the studies to exclude other        Prenatal exposure to opioids also significantly increases
confounding effects such as dosage of maternal opioid            the risk of low birth weight and small head circumfe-
use during pregnancy [5], timing during pregnancy when           rence as shown in the cohort of children in the studies
the fetus was exposed to opioids with potential resulting        selected for this review. However this analysis did not
behavioral teratogenicity [77], the differential effects of      observe any increased risk in neurobehavioral prob-
exposure to different opioids [42] and/or gender specific        lems in opioid exposed infants and pre-school children
neurobehavioral influences [71], other illicit drugs in-         compared to non-exposed peers suggesting that there
cluding cocaine and alcohol use during pregnancy [5].            is no neurobehavioral sequelae to the chronic prenatal
Each included study reported that there were no poly-            and, if treated for NAS with opioids, also postnatal, ex-
drug using mothers within their cohorts but it is not            posure to opioids with any effects being short term
possible to be certain that this was achieved.                   and/or reversible.

Clinical relevance                                               Conclusion
This meta-analysis helps in supporting certain clinical          Chronic intra-uterine opioid exposed infants and pre-
observations in this population. The observed, if any, neu-      school children experience no significant impairment
robehavioral outcomes in infants and pre-school children         in neurobehavioral outcomes when compared to non-
prenatally exposed to opioids are very often attributed          exposed peers, although in all domains there was a trend
to substance exposure. However it is important to exa-           to poorer outcomes. Interpretation of this meta-analysis
mine the contribution of other influences on a child’s           needs to appreciate the heterogeneous population stu-
development. Ongoing maternal depressive illness is cor-         died, the limited number of studies analysed due to the
related with poorer cognitive and motor development and          stringent inclusion criteria and the small numbers within
increase in teacher and parent rated behavior problems           the individual studies. Additional studies are needed to
in pre-school children [78,79]. Poverty and low socio-           improve the power of a future meta-analysis to produce
economic status is inversely related to children’s developmen-   significant results. And longitudinal studies are needed
tal performance [80,81]. A study examining the relationship      to determine if any neuropsychological impairments ap-
between birth weight and cognitive functioning among             pear after the age of 5 years and to help investigate fur-
children in South Australia indicated that cognition at          ther the role of environmental risk factors on the effect
2 years of age was significantly related to birth weight         of ‘core’ phenotypes.
[82]. However the magnitude of the association attenuated
over time became non-significant in childhood. Factors
                                                                 Additional files
that became significantly associated with neurobehavioral
outcomes included low socio-economic status, low mater-           Additional file 1: Table S1. Mesh terms used and searches conducted.
nal IQ, poor quality of the home environment and child’s          Additional file 2: Table S2. Study quality.
lead exposure. Overall it is increasingly becoming evident
that the risk factors that can predict poor neurobehavioral
                                                                 Competing interests
outcomes is not the drug fuelled lifestyle or actual sub-        The authors declare that they have no competing interests.
stance exposure during pregnancy but the presence of
multiple, inter-related and weighted variables cumulatively      Authors’ contributions
influencing neurobehavioral outcomes [3]. The risk factors       AB, CMC & DJP conceived the study and participated in its design and
                                                                 coordination KA carried out the systematic review supported by the other
were: maternal mental health, maternal attitudes toward          authors. AB performed the statistical meta-analysis and wrote the first draft
parenting and maternal child–parent interaction, maternal        of the manuscript. All authors read and approved the final manuscript.
education, parental occupation, minority status, stressful
life events and family size with not one risk factor con-        Authors’ information
                                                                 Dr Alex Baldacchino*: MD, FRCPsych, MPhil, PhD. Clinical Senior Lecturer
tributing exclusively to one cognitive or other neuro-           (University of Dundee) and Consultant Psychiatrist (NHS Fife), Division of
behavioral outcomes.                                             Neuroscience, Medical Research Institute, University of Dundee, Ninewells
   In many countries, including the UK, pharmacological          Hospital and Medical School, Dundee, DD1 9SY, UK
                                                                 Ms Kathleen Arbuckle: BSc, MPH. ESRC/MRC PhD student (University of
maintenance with methadone is the first line of treat-           Dundee), Division of Health Population, Medical Research Institute, University
ment for pregnant opioid dependent women [17,83].                of Dundee, Ninewells Hospital and Medical School, Dundee, DD1 9SY, UK
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